                   Case 2:21-cv-00811-TSZ Document 73 Filed 12/08/22 Page 1 of 3




 1                                                           THE HONORABLE THOMAS S. ZILLY

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8

 9    BUNGIE, INC.,                                         No. 2:21-cv-811

10                          Plaintiff,                      PLAINTIFF BUNGIE, INC.’S
                                                            UNOPPOSED MOTION TO SEAL
11            v.
                                                            NOTE ON MOTION CALENDAR:
12    AIMJUNKIES.COM; PHOENIX DIGITAL                       December 8, 2022
      GROUP, LLC; DAVID SCHAEFER; JORDAN
13    GREEN; JEFFREY CONWAY AND JAMES
      MAY,
14
                            Defendants.
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              At the request of Defendants AimJunkies.com, Phoenix Digital Group, LLC (“Phoenix
17
     Digital”), David Schaefer, Jordan Green, Jeffrey Conway, and James May (collectively,
18
     “Defendants”), Plaintiff Bungie, Inc. (“Bungie”), pursuant to LCR 5(g) and the Stipulated
19
     Protective Order entered by the Court in this matter (Dkt. No. 60), hereby moves to file under seal
20
     Exhibits 3 and 4 to the Declaration of William C. Rava in Support of Bungie’s Motion to Dismiss
21
     Phoenix Digital’s and James May’s Amended Counterclaims with Prejudice (“Rava Decl.”), and
22
     the accompanying references to these exhibits and information in Bungie’s Motion to Dismiss
23
     Phoenix Digital’s and James May’s Amended Counterclaims with Prejudice and the Rava
24
     Declaration.
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      PLAINTIFF’S MOT. TO FILE UNDER SEAL                                      Perkins Coie LLP
                                                                        1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) – 1                                             Seattle, Washington 98101-3099
                                                                            Phone: +1.206.359.8000
                                                                              Fax: +1.206.359.9000
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                   Case 2:21-cv-00811-TSZ Document 73 Filed 12/08/22 Page 2 of 3




 1            A party may file a document under seal without prior court approval “[i]f the party files a

 2   motion or stipulated motion to seal the document . . . at the same time the party files the sealed

 3   document. LCR 5(g)(2)(B). The contemporaneous motion must include a certification that the

 4   parties met and conferred about the need to file the document under seal, the ability to minimize

 5   the material filed under seal, and the possibility of explore alternatives to filing under seal. LCR

 6   5(g)(3)(A). Where the parties have entered a stipulated protective order, a party wishing to file

 7   confidential documents it obtained from another party in discovery may file a motion to seal but

 8   need not provide a specific statement of the applicable legal standard and the reasons for keeping

 9   a document under seal. LCR 5(g)(3)(B).

10            Here, the exhibits that Bungie intends to file under seal consist of excerpts of deposition

11   transcripts from Defendants David Schaefer and James May that were taken in the parallel JAMS

12   arbitration proceeding between the same parties, and which were designated as Confidential by

13   Defendants. Bungie has an obligation to maintain the confidentiality of this information under the

14   Stipulated Protective Order in this case and the virtually identical order in the arbitration

15   proceeding.

16            On December 7, 2022, Bungie’s counsel notified counsel for Defendants via email of its

17   intent to file Exhibits 3 and 4 to the Rava Declaration in connection with its motion to dismiss,

18   including the specific portions of the deposition testimony to be cited, and asked Defendants to

19   confirm whether they intended to assert confidentiality over those portions of the transcript.

20   Defendants stated that they consider these deposition excerpts Confidential.

21            A proposed order accompanies this motion.

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                   Case 2:21-cv-00811-TSZ Document 73 Filed 12/08/22 Page 3 of 3




 1                                            By: /s/William C. Rava
     Dated: December 8, 2022
 2                                                William C. Rava, Bar No. 29948
                                                  Christian W. Marcelo, Bar No. 51193
 3                                                Jacob P. Dini, Bar No. 54115
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 8                                            Attorneys for Plaintiff Bungie, Inc.

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